Case 0:20-cv-60056-RKA Document 76 Entered on FLSD Docket 05/21/2021 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO.: 20-cv-60056


  VIRGINIA ALDANA ALASTRA,

          Plaintiff,
  v.

  BCA FINANCIAL SERVICES, INC., et al,

          Defendant.

  _____________________________________/

                       STIPULATION OF DISMISSAL WITH PREJUDICE

          Plaintiff,   VIRGINIA     ALDANA       ALASTRA,         and    Defendant,   MEMORIAL

  HEALTHCARE SYSTEM, by and through the undersigned counsel, and pursuant to Rule

  41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby stipulate to the immediate

  dismissal of the above referenced action with prejudice. Each party shall bear their own

  attorneys’ fees and costs.



          Submitted on this 21stth day of May, 2020.


        /s/ Frank P. Rainer_____                       /s/ Jessica L. Kerr______
        Frank P. Rainer, Esq.                          Jessica L. Kerr, Esquire
       Attorney for Defendant                          Florida Bar No. 92810
       MEMORIAL HEALTHCARE SYSTEM                      THE ADVOCACY GROUP
       OFFICE OF GENERAL COUNSEL                       Attorney for Plaintiff
       Bar No. 436518                                  100 S. Biscayne Blvd., Ste 300-322
       3111 Stirling Road                              Miami, Florida 33131
       Hollywood, Florida 33312                        Telephone: (954) 282-1858
       Telephone: (954) 265-5933                       Email: service@advocacypa.com
       Facsimile: (954) 276-0487
       Email: frainer@mhs.ne
Case 0:20-cv-60056-RKA Document 76 Entered on FLSD Docket 05/21/2021 Page 2 of 2




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 21st day of May 2021, a true and correct copy of the

  foregoing document is being filed with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on counsel of record in this action via

  transmission of Notices of Electronic Filing generated by CM/ECF.



                                                     Respectfully submitted,

                                                     _/s/ Jessica L. Kerr____
                                                     Jessica L. Kerr, Esq.
                                                     Florida Bar No. 92810
